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                                                                   1       Richard M. Pachulski (CA Bar No. 90073)
                                                                           James I. Stang (CA Bar No. 94435)
                                                                   2       Dean A. Ziehl (CA Bar No. 84529)
                                                                           Linda F. Cantor (CA Bar No. 153762)
                                                                   3       Debra I. Grassgreen (CA Bar No. 169978)
                                                                           Shirley S. Cho (CA Bar No. 192616)
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                                                                                    dgrassgreen@pszjlaw.com
                                                                   9                scho@pszjlaw.com

                                                                  10       Attorneys for Debtor and Debtor in Possession

                                                                  11                                   UNITED STATES BANKRUPTCY COURT
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                    CENTRAL DISTRICT OF CALIFORNIA
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                               SANTA ANA DIVISION
                                           ATTORNEYS AT LAW




                                                                  14   In re:                                                         Case No. 8:12-bk-22808-SC

                                                                  15   American Suzuki Motor Corporation,1                            Chapter 11

                                                                  16                                       Debtor.                    APPLICATION FOR ORDER
                                                                                                                                      SHORTENING TIME FOR NOTICE OF
                                                                  17                                                                  MOTION AND MOTION FOR ORDER
                                                                                                                                      PURSUANT TO SECTION 365(A) OF THE
                                                                  18                                                                  BANKRUPTCY CODE AUTHORIZING
                                                                                                                                      DEBTOR TO REJECT AUTOMOTIVE
                                                                  19                                                                  DEALER AGREEMENT WITH JF
                                                                                                                                      ENTERPRISES, LLC, D/B/A JEREMY
                                                                  20                                                                  FRANKLIN'S SUZUKI OF KANSAS CITY
                                                                                                                                      AND GRANTING RELATED RELIEF;
                                                                  21                                                                  MEMORANDUM OF POINTS AND
                                                                                                                                      AUTHORITIES; DECLARATION OF
                                                                  22                                                                  SHIRLEY S. CHO

                                                                  23                                                                  [Relates to Docket No. 853]

                                                                  24                                                                  [Local Rule 9075-1(b)]

                                                                  25

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                                                                       1
                                                                  28    The last four digits of the Debtor’s federal tax identification number are (8739). The Debtor’s address is: 3251 East
                                                                       Imperial Highway, Brea, CA 92821.

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                                                                   1   TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE SCOTT C.
                                                                       CLARKSON, THE DEBTOR’S PREPETITION AND POSTPETITION LENDER,
                                                                   2   COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, PARTIES
                                                                       REQUESTING SPECIAL NOTICE, FRANKLIN SUZUKI, AND THE OFFICE OF THE
                                                                   3   UNITED STATES TRUSTEE:

                                                                   4          American Suzuki Motor Corporation, the above-captioned debtor and debtor in possession

                                                                   5   (the “Debtor”) in the above-entitled chapter 11 case, hereby moves this Court under Local

                                                                   6   Bankruptcy Rule 9075-1(b) (the “Application to Shorten Time”) for an order shortening the notice

                                                                   7   period for the hearing on the Notice of Motion and Motion for Order Pursuant to Section 365(a) of

                                                                   8   the Bankruptcy Code Authorizing Debtor to Reject Automotive Dealer Agreement with JF

                                                                   9   Enterprises, LLC, d/b/a Jeremy Franklin's Suzuki of Kansas City and Granting Related Relief;

                                                                  10   Memorandum of Points and Authorities; Declaration of M. Freddie Reiss Filed by Debtor American

                                                                  11   Suzuki Motor Corporation filed concurrently herewith [Docket No. 853] (the “Motion”). By the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Motion, the Debtor seeks to reject the automotive dealership agreement with JF Enterprises, LLC,
                                        LOS ANGELES, CALIFORNIA




                                                                  13   d/b/a Jeremy Franklin's Suzuki of Kansas City (“Franklin”).
                                           ATTORNEYS AT LAW




                                                                  14          The Debtor has filed a motion to estimate Franklin’s unliquidated contingent claim [Docket

                                                                  15   No. 580], which motion is scheduled for February 22, 2013 at 9:30 a.m. pursuant to that scheduling

                                                                  16   order entered on January 22, 2013 [Docket No. 703]. By this Application to Shorten Time, the

                                                                  17   Debtor requests that the Court set a hearing on the Motion at the same date and time as the

                                                                  18   estimation hearing scheduled for February 22, 2013 at 9:30 a.m., and providing that any objections

                                                                  19   to the Motion, if any, be filed and served by February 19, 2013 at 12:00 p.m. The Debtor submits

                                                                  20   that if the Debtor had filed the Motion on negative notice under Local Bankruptcy Rule 9013-1,

                                                                  21   Franklin would have been required to file a response within 14 days or by February 19, 2013 in any

                                                                  22   event. The Debtor proposes to serve any Order Shortening Time granted pursuant to this

                                                                  23   Application and the Motion by email and facsimile upon counsel immediately upon entry of the

                                                                  24   Order Shortening Time.

                                                                  25          Given that the parties will already be in attendance at the hearing on February 22, 2013 at

                                                                  26   9:30 a.m. and litigating Franklin’s contingent claim, the Debtor submits that the interests of judicial

                                                                  27   economy and efficiency would be served by granting the Application to Shorten Time.

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                                                                   1            For the reasons stated herein and in the supporting declaration hereto the Debtor submits

                                                                   2   that this Application to Shorten Time is in the best interests of the estate and should be granted by

                                                                   3   the Court.

                                                                   4            In accordance with Local Rule 9075-1(b), this Application to Shorten Time, filed with a copy

                                                                   5   of the Motion, will be served contemporaneously, via facsimile, email, or overnight/Express Mail

                                                                   6   delivery on (1) the Office of the United States Trustee, (2) counsel to the Official Committee of

                                                                   7   Unsecured Creditors, (3) counsel for Franklin, and (4) parties that file with the Court and serve upon

                                                                   8   the Debtor requests for notice of all matters in accordance with Bankruptcy Rule 2002(i). The

                                                                   9   Debtor submits that such notice is sufficient under the circumstances.

                                                                  10            WHEREFORE, the Debtor respectfully requests that the Court issue and enter the Order

                                                                  11   filed currently herewith granting the Application to Shorten Time setting the hearing for February
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   22, 2013 at 9:30 a.m., providing that any objections to the Motion, if any, be filed and served by
                                        LOS ANGELES, CALIFORNIA




                                                                  13   February 19, 2013 at 12:00 p.m., and providing that any replies be filed by February 21, 2012 at 3:00
                                           ATTORNEYS AT LAW




                                                                  14   p.m.

                                                                  15

                                                                  16   Dated:    February 4, 2013                   PACHULSKI STANG ZIEHL & JONES LLP

                                                                  17
                                                                                                                    By    /s/ Shirley S. Cho
                                                                  18                                                      Richard M. Pachulski
                                                                                                                          James I. Stang
                                                                  19                                                      Dean A. Ziehl
                                                                                                                          Linda F. Cantor
                                                                  20                                                      Debra I. Grassgreen
                                                                                                                          Shirley S. Cho
                                                                  21
                                                                                                                          Attorneys for Debtor and Debtor in
                                                                  22                                                      Possession

                                                                  23

                                                                  24

                                                                  25

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                                                                  28


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                                                                   Case 8:12-bk-22808-SC                Doc 854 Filed 02/04/13 Entered 02/04/13 17:31:45                           Desc
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                                                                   1                                        DECLARATION OF SHIRLEY S. CHO

                                                                   2   Shirley S. Cho, being duly sworn, hereby deposes and says:

                                                                   3               1.       I am an attorney at Pachulski Stang Ziehl & Jones LLP, bankruptcy counsel for

                                                                   4   American Suzuki Motor Corporation, a corporation organized under the laws of the State of

                                                                   5   California (the “Debtor”). I submit this declaration (the “Declaration”) in support of the above-

                                                                   6   captioned Application for Order Shortening Time.2

                                                                   7               2.       Except as otherwise indicated, all facts set forth in this Declaration are based on my

                                                                   8   personal knowledge, information supplied by employees under my supervision, or my opinion based

                                                                   9   on experience, knowledge, and information concerning the operations of the Debtor.

                                                                  10               3.       The hearing on the Motion of Debtor for Order Estimating Maximum Allowable

                                                                  11   Amount of All Claims of JF Enterprises, LLC and Olathes Showcase Cars, Inc. for All Purposes in
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   This Chapter 11 Case is scheduled for February 22, 2013 at 9:30 a.m. before this Court.
                                        LOS ANGELES, CALIFORNIA




                                                                  13               4.       For reasons stated herein and in the Application, I believe that shortening the time on
                                           ATTORNEYS AT LAW




                                                                  14   the hearing on the Motion is in the best interests of the Debtor’s estate and creditors, and other

                                                                  15   parties in interest and will serve judicial economy as Franklin and all other parties in interest will

                                                                  16   already be in attendance at the hearing on February 22, 2013.

                                                                  17               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

                                                                  18   correct.

                                                                  19               Executed on this 4th day of February 2013 at Los Angeles, California.

                                                                  20
                                                                                                                                        Shirley S. Cho
                                                                  21                                                                    Shirley S. Cho
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                                                                           Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is: 10100 Santa Monica Blvd., Ste. 1300, Los Angeles, CA 90067
APPLICATION FOR ORDER SHORTENING TIME FOR NOTICE OF MOTION AND MOTION
FOR ORDER PURSUANT TO SECTION 365(A) OF THE BANKRUPTCY CODE AUTHORIZING
DEBTOR TO REJECT AUTOMOTIVE DEALER AGREEMENT WITH JF ENTERPRISES, LLC,
D/B/A JEREMY FRANKLIN'S SUZUKI OF KANSAS CITY AND GRANTING RELATED RELIEF;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF SHIRLEY S. CHO will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document was served by the court via NEF and hyperlink to
the document. On (date) February 4, 2013, I checked the CM/ECF docket for this bankruptcy case or
adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
receive NEF transmission at the email addresses stated below:

                                                                 Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) February 4, 2013, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
Counsel for J.F. Enterprises                 Jeremy Franklin                                       Hector Espinosa, Member
Barry E. Bressler                            Managing Member                                       3015 Crystal Aire Ct.
Schnader                                     JF Enterprises, LLC                                   Grain Valley, MO 64029
1600 Market Street, Suite 3600               dba Jeremy Franklin’s
Philadelphia, PA 19103-7286                  Suzuki of Kansas City
                                             6300 East 87th St.
                                             Kansas City, MO 64138-2727
                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date) February 4, 2013, I served the following persons and/or entities by personal delivery, overnight mail
service, or (for those who consented in writing to such service method), by facsimile transmission and/or email
as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

Via Overnight Mail
The Honorable Scott C. Clarkson
U.S. Bankruptcy Court
411 West Fourth Street, Courtroom 5C
Santa Ana, CA 92701-4593                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 4, 2013               Sophia L. Lee                                                   /s/Sophia L. Lee
 Date                           Printed Name                                                    Signature



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June 2012                                                                         F 9013-3.1.PROOF.SERVICE
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1.       SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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     jbank@kerr-russell.com, vmckinnie@kerr-russell.com                             tkapur@pszjlaw.com
    Martin R Barash for Cred Suzuki Motor Corporation                             Andy Kong for Cred Fitzgerald Auto Mall, Inc.
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    Yelena Bederman for Other Professional Rust Consulting                        Kristin R Lamar for Cred Eplica, Inc.
     Omni Bankruptcy, a Division of Rust Consulting, Inc.                           nclgign@hotmail.com
     ybederman@omnimgt.com                                                         Kenneth T Law for Cred United Parcel Service Inc
    Michael J Bujold for U.S. Trustee United States Trustee (SA)                   ken@bbslaw.com
     Michael.J.Bujold@usdoj.gov                                                    John W Lucas for Debtor American Suzuki Motor Corp
    Frank Cadigan for U.S. Trustee United States Trustee (SA)                      jlucas@pszjlaw.com
     frank.cadigan@usdoj.gov                                                       Kerri A Lyman for Attorney Irell & Manella
    Charles Canter for Cred United States of America                               klyman@irell.com
     charles.canter@usdoj.gov                                                      Gabriel R Macconaill for Cred GE Capital Retail Bank
    Linda F Cantor for Debtor American Suzuki Motor                                gmacconaill@sidley.com
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                                                                                    Franklin's Suzuki of Kansas City
    Shirley Cho for Debtor American Suzuki Motor Corporation                       vpeo@schnader.com, mpadilla@schnader.com
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                                                                                   David M Poitras for Int Pty Courtesy NEF
    Shawn M Christianson for Int Pty Courtesy NEF                                  dpoitras@jmbm.com
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    Kristin Corbett                                                                rprince@kmclaw.com, squilter@kmclaw.com
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    Joseph A Eisenberg for Cred Dealer's Network                                   stuart.richter@kattenlaw.com,
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    Barry V Freeman for Int Pty Courtesy NEF                                       adsmith@perkinscoie.com
     bfreeman@jmbm.com, bfreeman@jmbm.com
                                                                                   James Stang for Debtor American Suzuki Motor Corp
    Donald L Gaffney for Int Pty Courtesy NEF                                      jstang@pszjlaw.com
     dgaffney@swlaw.com
                                                                                   Howard Steinberg for Int Pty South Motors Suzuki, Inc.
    Amir Gamliel for Cred Shizouka Bank, Ltd.                                      steinbergh@gtlaw.com, arosc@gtlaw.com
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                                                                                   Charles M Tatelbaum for Cred Ally Financial Inc.
    Duane M Geck for Cred Nissan Motor Acceptance Corp                             ctatelbaum@hinshawlaw.com, csmith@hinshawlaw.com
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    Michael I Goldberg for Cred Sonar Credit Partners II, LLC                      ustpregion16.sa.ecf@usdoj.gov
     info@sonarcredit.com
                                                                                   Elizabeth Weller for Cred Dallas County
    Debra I Grassgreen for Debtor American Suzuki Motor Corp                       dallas.bankruptcy@publicans.com
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3.       SERVED BY UNITED STATES MAIL:

Employment Development Dept.
                                                    Internal Revenue Service                            Securities & Exchange Commission
Bankruptcy Group MIC 92E
                                                    PO Box 7346                                         5670 Wilshire Blvd., 1th Floor
PO Box 826880
                                                    Philadelphia, PA 19101                              Los Angeles, CA 90036
Sacramento, CA 94280-0001
                                                    US Attorney General
State Board of Equalization                                                                             Franchise Tax Board CA
                                                    US Dept. of Justice
Attn: Special Procedures Section                                                                        Bankruptcy Section, MS: A-340
                                                    Ben Franklin Station
PO Box 942879, 450 N. St.                                                                               PO Box 2952
                                                    PO Box 683
Sacramento, CA 95814                                                                                    Sacramento, CA 95812-2952
                                                    Washington, DC 20044
                                                    Missouri Dept. of Revenue                           Tennessee Department of Revenue
Michael G. Wilson                                   Bankruptcy Unit                                     c/o Tennessee Attorney General’s Office,
One Energy Plaza                                    Attn: Steven A. Ginther                             Bankruptcy Division
Jackson, MI 49201                                   P.O. Box 475                                        PO Box 20207
                                                    Jefferson City, MO 65105-0475                       Nashville, TN 37202-0207

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                                                    Office of the United States Trustee                 Jeffrey M. Resiner, Esq., Kerri A. Lyman,
Michael L. Tuchin, Lee R. Bogdanoff
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                                                    Kristin Lamar, Esq.                                 Kenneth T. Law, Esq.
Christopher S. Hill
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Counsel to Fitzgerald Auto Mall, Inc.,                                                                  Desmond J. Hinds
Wheaton Motor City, Inc. and Fitzgerald             Counsel to SunTrust Bank                            Filomena E. Meyer
Motors, Inc.                                        Robert K. Imperial, Esq.                            Charles M. Tatelbaum
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